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Attorneys for the Defendants




               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                       GREAT FALLS DIVISION
RONALD JACKSON, RUTH JACKSON,               )
ROBERT MANNING, PATRICIA                    ) Cause No. CV-13-65-GF-DLC-RKS
McGESHICK, LAWRENCE WETSIT,                 )
LANETTE M. CLARK, and BILL                  )
WHITEHEAD,                                  )
             Plaintiffs,                    )
    vs.                                     )     MOTION TO DISMISS
                                            )
THE BOARD OF TRUSTEES OF WOLF )
POINT, MONTANA, SCHOOL DISTRICT )
NO. 45-45A; MARTIN DEWITT,                  )
TRACEY JUVE-MIRANDA, GLENN                  )
STRADER, JANICE WEMMER-KEGLEY, )
JARONN BOYSUN, BRENT NYGARD )
and ED BACH in their official capacities as )
members of the Board of Trustees of Wolf )
Point School District No. 45-45A; and       )
NAOMI ERICKSON, in her official             )
capacity as School District Clerk and       )
Election Administrator,                     )
                                            )
                   Defendants.              )
                                            )
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       COMES NOW, the above-named Defendants, by and through their counsel

of record, and, pursuant to Fed. R. Civ. P. 12(b)(6), hereby move the Court to

dismiss the Complaint in the above-entitled matter on the basis that Plaintiffs have

failed to state a claim upon which relief can be granted. Counsel for the Plaintiffs

has been contacted via e-mail to determine whether they object to the motion, but

no response was received as of the time this motion was filed.

       DATED this 4th day of October, 2013.


                          /s/ Tony C. Koenig
                          Tony C. Koenig
                          One of the attorneys for Defendants

                         CERTIFICATE OF SERVICE

I hereby certify that, on the 4th day of October, 2013, a copy of the foregoing

document was served on the following persons by the following means:

1, 2   CM/ECF
__     Hand Delivery
__     U.S. Mail, postage prepaid
__     Overnight Delivery Service
__     Facsimile
__     E-Mail

1.     Clerk, U.S. District Court

2.     Jon Ellingson
       James P. Taylor
       ACLU of Montana Foundation
       P.O. Box 9138
       Missoula, Montana 59802
